 Fill in this information to identify the case:
 Debtor name Rivore Metals, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alter Trading                                                   Business Debt                                                                                          $167,426.50
 1640 W. Buce Street             Gail.Elder@altertra
 Milwaukee, WI                   ding.com
 53204
 ARLEN                                                           Business Debt                                                                                        $1,291,502.56
 601 Canarctic Drive             zhenqianghuang@i
 North York, Ontario             cloud.com
 M3J 2P9
 ATLAS METALS                                                    Business Debt                                                                                          $506,514.79
 LTD                             atlasmetalsltd@gm
 110 RIDGETOP RD                 ail.com
 Scraborough, On
 M1P 2J9
 E&E Manufacturing                                               Business Debt                                                                                          $398,866.00
 Company
 300/400 Industrial              bswanson@eemfg.
 Drive                           com
 Plymouth, MI 48170
 Emerald                                                         Business Debt                                                                                          $247,045.78
 Transformer                     mplank@emeraldtr
 1672 Highland Rd                ansformer.com
 Twinsburg, OH
 44087
 Fisher Dynamics                                                 Business Debt                                                                                          $555,448.42
 33300 Fisher Drive              Reyna.Zapata@fish
 St. Clair Shores, MI            erco.com
 48082
 GM Pontiac                                                      Business Debt                                                                                          $255,338.01
 Stamping                        dimitra.masterson
 220 Montcalm                    @gm.com
 Pontiac, MI 48340
 Labrador Recycling                                              Business Debt                                                                                          $331,787.79
 Inc.                            ap@labrecy.com
 115 Stevens St.
 Springfield, MA
 01104



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 Debtor    Rivore Metals, LLC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Level One Bank                                                  Business Debt                                                                                          $948,194.83
 32991 Hamilton                  contact@leveloneb
 Court                           ank.com
 Farmington, MI
 48334
 Lopez Scrap Metal                                               Business Debt                                                                                          $110,659.28
 Inc.                            diazeva@lopezscra
 351 N. Nevarez Rd.              pmetal.com
 El Paso, TX 79927
 Mercantile Bank of                                              Business Debt                                                                                          $459,769.79
 Michigan                        info@mercbank.co
 310 Leonard St. NW,             m
 PO box 2208
 Grand Rapids, MI
 49501
 Midwest Iron &                                                  Business Debt                                                                                          $128,906.75
 Metal Co                        contact@midwestir
 PO box 546                      on.com
 Dayton, OH 45401
 Pacific Metal Master,                                           Business Debt                                                                                          $143,742.05
 LLC                             pacificmetalmaster
 10050 West Gulf                 @gmail.com
 Bank Rd, Site 210
 Houston, TX 77040
 Sikora                                                          Business Debt                                                                                            $80,212.63
 12850 Mount Elliott             sikorametals@hot
 St.                             mail.com
 Hamtramck, MI
 48212
 Solomon                                                         Business Debt                                                                                          $288,225.38
 corporation -V                  spurohit@solomon
 103 W. Main St                  corp.com
 Solomon, KS 67480
 Stone Transport                                                 Business Debt                                                                                          $153,529.21
 Limited Partnership             mikes@stonetrans
 Dept 999435 PO box              port.com
 33745
 Detroit, MI 48232
 TCI Alabama                                                     Business Debt                                                                                          $237,010.99
 101 Parkway Wast                gjackson@tcialaba
 Pell City, AL 35150             ma.com
 Technical Logistics                                             Business Debt                                                                                            $93,284.09
 Corporation                     jmansfield@tlcwas
 28035 Beverly Rd.               te.com
 Romulus, MI 48174
 U.S. Small Business                                             Business Debt          Contingent                                                                      $754,283.80
 Administration                  answerdesk@sba.                                        Unliquidated
 477 Michigan                    gov                                                    Disputed
 Avenue
 Detroit, MI 48226




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 Debtor    Rivore Metals, LLC                                                                                 Case number (if known)
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Umetco                                                          Business Debt                                                                                          $109,112.69
 Incorporated                    mark@u-metco.co
 8651 East 7 Mile Rd             m
 Detroit, MI 48234




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